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               Exhibit C
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                                                               UNDER SEAL


                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                       )                  20-cr-10098
                                                           Criminal No.
      UNITED STATES OF AMERICA                         )
                                                       )   Violations:
                v.                                     )
                                                       )   Count One: Conspiracy to Commit
      BRIAN GILBERT,                                   )   Cyberstalking
      STEPHANIE POPP,                                  )   (18 U.S.C. § 371)
      STEPHANIE STOCKWELL, and                         )
      VERONICA ZEA,                                    )   Count Two: Conspiracy to Tamper with a
                                                       )   Witness
                        Defendants                     )   (18 U.S.C. § 371)


                                        INFORMATION

      At all times relevant to this Information:

                                       General Allegations

       1.      eBay was a multinational ecommerce business listed on the Fortune 500. eBay

operated marketplaces that connected online sellers and their customers.

       2.      James Baugh (“BAUGH”), a coconspirator not charged as a defendant in this

Information, lived in San Jose, California. BAUGH was eBay’s Senior Director of Safety &

Security. He ran eBay’s Global Security and Resiliency (“GSR”) business, a company division

responsible for, in general terms, the physical security of eBay’s employees and facilities

worldwide.

       3.      Defendant Stephanie Popp (“POPP”) lived in San Jose, California. POPP was

eBay’s Senior Manager of Global Intelligence. She served as BAUGH’s de facto chief of staff.

Before May 2019, POPP managed eBay’s Global Intelligence Center (“GIC”), an intelligence

and analytics group within the GSR that supported eBay’s security operations.


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        4.     Defendant Stephanie Stockwell (“STOCKWELL”) lived in Redwood City,

California. STOCKWELL was an intelligence analyst in the GIC who became its manager in

mid-2019, when eBay assigned POPP to work directly with BAUGH.

        5.     Defendant Veronica Zea (“ZEA”) lived in Santa Clara, California. ZEA was an

eBay contractor who worked as an intelligence analyst in the GIC.

        6.     Defendant Brian Gilbert (“GILBERT”) lived in San Jose, California. GILBERT

was a Senior Manager of Special Operations for eBay’s Global Security Team. A former police

captain in Santa Clara, California, GILBERT was responsible for, among other things, executive

protection, special events security, and safety at eBay’s North American offices.

        7.     David Harville (“HARVILLE”), a coconspirator not charged as a defendant in

this Information, lived in Gilroy, California. HARVILLE, who reported directly to BAUGH,

was eBay’s Director of Global Resiliency, a unit focused on ensuring that eBay could continue to

operate worldwide after business disruptions, such as security threats, political unrest, or natural

disasters.

        8.     Victim 1 lived in Natick, Massachusetts. Victim 1 was a reporter and editor of

an online newsletter (“the Newsletter”) that covered ecommerce companies, including eBay.

Victim 1 used a Twitter account in the Newsletter’s name to promote her reporting.

        9.     Victim 2 lived in Natick and was married to Victim 1. He was the Publisher of

the Newsletter.

        10.    Several eBay executives perceived a threat to eBay’s public image in the

Newsletter’s coverage.

        11.    The defendants and their coconspirators knew that some in eBay’s senior


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leadership disliked both the Newsletter’s content and comments that the Newsletter’s readers

posted underneath Victim 1’s articles.

       12.     In August 2019, as described below, the defendants and their coconspirators

engaged in an extensive harassment campaign targeting Victims 1 and 2. The campaign

included sending threatening communications to the Victims, ordering unwanted and disturbing

deliveries to their home, and ZEA, HARVILLE, BAUGH, and POPP travelling to Natick to

surveil the Victims in their home and community.

       13.     After the Victims spotted one of the surveillance teams, the Natick Police

Department (“NPD”) investigated, connected ZEA and HARVILLE to eBay, and reached out to

eBay for assistance.

       14.     When BAUGH, GILBERT, HARVILLE, POPP, STOCKWELL, and ZEA

learned that the NPD was making inquiries, they took steps described below to prevent the NPD

from learning about the harassment campaign.

                           Overview of the Cyberstalking Conspiracy

       15.     Beginning on or about August 5, 2019 and continuing through at least August 23,

2019, defendants GILBERT, POPP, STOCKWELL, and ZEA conspired with BAUGH,

HARVILLE, and others to harass Victim 1 and Victim 2 through repeated and hostile Twitter

messages, deliveries of unwanted—and in some instances disturbing—items to the Victims’

home, and physical surveillance. The defendants and their coconspirators intended to cause the

Victims distress and to distract them from publishing the Newsletter. After they caused such

distress, GILBERT contacted Victim 1, identified himself as an eBay employee, claimed that the

company had seen and was concerned by the online harassment of the Victims, and offered


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eBay’s help. In essence, the plan was for eBay to arrive to “rescue” the Victims from the very

harassment that the defendants and their coconspirators had themselves created in order to earn

the Victims’ good will (hereinafter referred to as the “White Knight Strategy”). The defendants

and their coconspirators believed that the cyberstalking campaign would curtail both the

Newsletter’s coverage of eBay and the anonymous comments beneath it, and thereby please

eBay’s senior management.

                      Object and Purpose of the Cyberstalking Conspiracy

       16.     The object and purpose of the conspiracy was to engage in a cyberstalking

campaign targeting the Victims, to harass them, and to create an opportunity for eBay (through

GILBERT) to approach the Victims, offer assistance, and create a positive impression of eBay

that would be reflected in Victim 1’s reporting in the Newsletter.

                      Manner and Means of the Cyberstalking Conspiracy

       17.     Among the manner and means by which defendants GILBERT, POPP,

STOCKWELL, and ZEA conspired with BAUGH, HARVILLE, and others to carry out the

cyberstalking conspiracy were the following:

               a.     Creating Twitter accounts in false names and using them to send harassing
                      messages to and about Victim 1 and the Newsletter.

               b.     Selecting ominous Twitter account names and profile photos.

               c.     Sending private and threatening direct messages (“DMs”) to Victim 1’s
                      Twitter account.

               d.     Publicly posting the Victims’ home address on Twitter, while suggesting in
                      a threatening manner that eBay sellers who were angry about the
                      Newsletter’s coverage should visit the Victims’ home.

               e.     Sending unwanted and scary items and services to the Victims’ home, and
                      items intended to embarrass the Victims to their neighbors’ addresses.

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               f.      Posting online advertisements for fictitious events at the Victims’ home to
                       encourage others to visit them there.

               g.      Signing the Victims up for unwanted emails and online newsletters.

               h.      Traveling to Boston and to Natick to surveil the Victims in their home and
                       in their community.

               i.      Disguising their role in the conspiracy by ordering the harassing deliveries
                       with burner cell phones and laptops, VPN services, overseas email
                       accounts, and prepaid debit cards purchased with cash.

                    Overt Acts in Furtherance of the Cyberstalking Conspiracy

       18.     From on or about August 5, 2019 and continuing through at least August 23, 2019,

defendants GILBERT, POPP, STOCKWELL, and ZEA, along with BAUGH, HARVILLE, and

others, committed and caused to be committed the following overt acts, among others, in

furtherance of the conspiracy:

               a.      On August 6, 2019, at a San Jose, California Best Buy, STOCKWELL
                       purchased a laptop computer for use in the harassment campaign.

               b.      On August 6, 2019, POPP created a Twitter Account in the name of
                       “@Tui_Elei” that used a picture of a skeleton mask as a profile picture.

               c.      On August 7, 2019, POPP sent the following DMs to Victim 1’s Twitter
                       account:

                                 •   “[Victim 1’s First Name]…whats your problem w/ebay? You
                                     know that’s how we pay rent.”

                                 •   “HELLO!!!!!!!”

               d.      On August 8, 2019, ZEA purchased prepaid debit cards with cash at a
                       Safeway in Santa Clara, California for use in ordering harassing deliveries.

               e.      On August 9, 2019, POPP sent the following DMs to Victim 1’s Twitter
                       account:

                                     •   “WTF…whats it goin to take for u to answer me??”

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                                      •   I guess im goin to have to get ur attention another way
                                          bitch…

                                      •   U don’t have the balls to talk to me?? Stop hiding behind ur
                                          computer screen u fuckin cunt!!!”

                f.       On August 9, 2019, STOCKWELL used a Protonmail account created for
                         the conspiracy to order online live spiders for delivery to the Victims’ home.

                g.       On August 9, 2019, one or more members of the conspiracy ordered a
                         subscription for pornographic magazines in the name of Victim 2 to be sent
                         to the Victims’ neighbors.

                h.       On August 9, 2019, one or more members of the conspiracy ordered a pig
                         fetus for delivery to the Victims’ home. 1

                i.       On August 10, 2019, one or more members of the conspiracy ordered a
                         Halloween Pig Mask for delivery to the Victims’ home.

                j.       On August 10, 2019, POPP sent the following DM to Victim 1’s Twitter
                         account:

                             •   “DO I HAVE UR ATTENTION NOW????”

                k.       On August 11, 2019, POPP sent the following DMs to Victim 1’s Twitter
                         account:

                             •   “Ur fat fuck pussy husband [Victim 2’s first name] needs to put u in
                                 line cunt.”

                             •   “after he takes the plugs out of his asshole…fuckin pussies!!!”

                l.       On August 12, 2019, one or more members of the conspiracy sent a book
                         titled “Grief Diaries: Surviving Loss of a Spouse” to the Victims’ home.

                m.       On August 12, 2019, POPP used the “@Tui_Elei” Twitter account to post
                         to Victim 1’s Twitter account “[Victim 1]…wats ur problem with ebay??”

                n.       On August 12, 2019, POPP used the “Tui_Elei” Twitter account to post to
                         Victim 1’s Twitter account “many familys including mine make money 2

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 The delivery was flagged by the retailer, who called the Victims’ home, asking about their purchase. When the
Victims denied making the purchase, it was cancelled.
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           pay 4 food cloths and rent by selling on ebay…UR stupid idkiot comments
           r pushin buyers away from ebay and hurtin familys!!! STOP IT NOW!!”

     o.    On August 13, 2019, one or more members of the conspiracy used a prepaid
           debit card to order a funeral wreath for delivery to the Victims’ home.

     p.    On August 14, 2019, one or more members of the conspiracy ordered
           roaches for delivery to the Victims’ home.

     q.    On August 14, 2019, POPP used the @Tui Elei Twitter account to post a
           public message to Victim 1’s Twitter account, “[First name of Victim 1]
           wen u hurt our bizness u hurt our familiys…Ppl will do ANYTHING 2
           protect family!!!!”

     r.    On August 14, 2019, ZEA booked hotel rooms at the Ritz Carlton hotel in
           Boston, Massachusetts and rented vehicles in Boston, Massachusetts.

     s.    On August 14, 2019, BAUGH, HARVILLE, ZEA, GILBERT, and POPP
           met to discuss the trip to Boston to surveil the Victims.

     t.    On August 15, 2019, BAUGH, HARVILLE, and ZEA flew from California
           to Boston, Massachusetts.

     u.    On August 17, 2019, one or more members of the conspiracy called a
           Boston, Massachusetts restaurant that is open 24 hours and ordered pizza to
           be delivered to the Victims’ home at 4:30 a.m., for payment upon delivery.

     v.    On August 17, 2019, one or more members of the conspiracy called a
           suburban restaurant near the Victims’ home and ordered pizza to be
           delivered at 11:00 p.m.

     w.    On August 18, 2019, POPP sent the following DM to Victim 1’s Twitter
           account:

              •   “U get my gifts cunt!!??”

     x.    On August 18, 2019, POPP replied to a public tweet on Victim 1’s Twitter
           account using the @Tui Elei account and stated: “Dis ur address???”. The
           message was followed by information about Victim 1, accurately stating her
           name, age, address, and telephone number.

     y.    On August 18, 2019, one or more members of the conspiracy posted an
           advertisement on Craigslist claiming to be a married couple seeking a sexual
           partner or partners, and providing the Victims’ home address.

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     z.    On August 20, 2019, one or more members of the conspiracy caused
           strangers to arrive at the Victims’ home by posting an advertisement on
           yardsalesearch.com that the Victims were “moving out of the country soon
           and are trying to get rid of as many of our possessions as possible. … If
           we are not outside, feel free to knock on the door. Maybe we can make a
           deal if you see something you like.”

     aa.   On August 20, 2019, after Twitter suspended the coconspirators’
           @Tui_Elei account for posting the Victims’ home address, POPP created a
           second Twitter account, @Elei_Tui, and used it to post more threatening
           messages on Victim 1’s Twitter account.

     bb.   On August 20, 2019, POPP also created two other Twitter accounts,
           including one that used the name of a prominent eBay seller. These new
           accounts, which used an image of a pig mask and an image of a screaming
           mask as profile pictures, exchanged threatening public tweets about Victim
           1 with the @Elei_Tui account, all to give the impression that several eBay
           sellers were upset with the Victims over the Newsletter’s coverage of eBay.

     cc.   On August 21, 2019, GILBERT sent WhatsApp communications to POPP
           proposing threatening messages that could be sent from the newly created
           Twitter accounts described above.

     dd.   On August 21, 2019, POPP used two of the Twitter accounts that she had
           created to have a public “conversation” on Twitter, asking one what Victim
           1’s address was, and responding as the other “guest I hav to pay [Victim 1]
           a visit.”

     ee.   On August 21, 2019, consistent with the White Knight Strategy, GILBERT
           called the Victims, identified himself as an eBay employee, and offered
           eBay’s assistance.

     ff.   On August 22, 2019, POPP used one of the new Twitter accounts to post
           “@[Newsletter] 20 yrs of lies n distroin familys... dunt b proud of dat u
           wurthless BITCH!!! i wil distroy ur family n bizness 2... C how u like
           it...\n\n@Elei_Tui wen r we goin 2 visit her in natik???”

     gg.   On August 23, 2019, one or more members of the conspiracy caused a
           woman to visit the Victims’ home and identify herself as an “early bird” for
           a yard sale the next day.




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                            Overview of the Obstruction Conspiracy

       19.    From on or about August 16, 2019 and continuing through at least on or about

September 6, 2019, defendants GILBERT, POPP, STOCKWELL, and ZEA conspired with

BAUGH, HARVILLE, and others to obstruct the Natick Police Department’s investigation.

                       Object and Purpose of the Obstruction Conspiracy

       20.    The object of the conspiracy was to obstruct justice by engaging in misleading

conduct toward law enforcement officers in the Natick Police Department with intent to hinder,

delay, or prevent the communication to a law enforcement officer of the United States of

information relating to the commission and possible commission of a federal offense. The

purpose of the conspiracy was to prevent law enforcement from uncovering the coconspirators’

and eBay’s connection to the cyberstalking campaign and related conduct.

                       Manner and Means of the Obstruction Conspiracy

       21.    Among the manner and means by which defendants GILBERT, POPP,

STOCKWELL, and ZEA conspired with BAUGH, HARVILLE, and others to carry out the

obstruction conspiracy were the following:

              a. making false statements to NPD personnel who were investigating the
                 threatening communications, harassing deliveries, and surveillance of the
                 Victims;

              b. communicating by WhatsApp regarding how to respond to the NPD
                 investigation;

              c. having GILBERT speak, email, text message, and meet with the NPD, to deflect
                 through false statements any connection between eBay and the cyberstalking
                 campaign;

              d. creating and sending to GILBERT a “dossier” of documents that he could use
                 in an NPD meeting, both to support the White Knight Strategy and to deflect
                 investigative attention from eBay;

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               e. Exchanging ideas as to how best to thwart the NPD investigation, including
                  creating false suspects, continuing the harassing deliveries, fabricating cover
                  stories, and intervening with any San Jose area police that the NPD contacted
                  to further its investigation; and

               f. Deleting the contents of cell phones, text messages, and social media accounts
                  that evidenced the cyberstalking campaign and the defendants’ and
                  coconspirators’ efforts to obstruct the NPD investigation.

                        Overt Acts in Furtherance of the Obstruction Conspiracy

       22.     From on or about August 16, 2019 and continuing through at least September 6,

2019, defendants GILBERT, POPP, STOCKWELL, and ZEA, along with BAUGH, HARVILLE,

and others, committed and caused to be committed the following overt acts, among others, in

furtherance of the conspiracy:

               a.     On August 21, 2019, ZEA and BAUGH made false statements to an NPD

detective who arrived at the Boston hotel (where the surveillance team was then staying) to

investigate ZEA and HARVILLE’s connection to the cyberstalking campaign.

               b.     On August 21, 2019, defendants and their coconspirators made the

following statements in a group discussion over WhatsApp:

                          •      GILBERT: “The more I thought about it I do think we should
                                 bring a dossiers on the [Victims] to the PD. Definitely want to
                                 make them look crazy.

                          •      BAUGH: “I agree.”

                                 ***

                          •      POPP: “Copy re dossiers”

                                 ***

                          •      BAUGH: Natick detective is in lobby looking for Ronnie [ZEA].
                                 I’ve taken her away from hotel headed to airport. Detective called
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                            her cell. I answered just now as her husband and played dumb.
                            Told him if he had questions he could talk to me.

                        •   GILBERT: Copy. She used just [name of eBay contractor] stuff
                            no eBay?

                        •   BAUGH: Correct.

                        •   POPP: But her LinkedIn says EBay so I told her to take it down in
                            case they do social media search.

                            ***

                        •   GILBERT: “Ronnie was driving around looking for antiques.
                            Must have got lost and they picked up her plate by accident. Can
                            they visually identify her?”

                            ***

                        •   BAUGH: “They cannot ident her…I spoke with investigator. He
                            was polite and clueless.”

                            ***

                        •   GILBERT: “Good. This is fine.           The cops obviously have
                            nothing else to do in Natick. We known the targets have been very
                            impacted by this op. Perfect time for next phase.”

                            ***

                        •   BAUGH: “Bring out bad boy out please; these people are wasting
                            our time. It’s go time.”

              c.     On August 21, 2019, GILBERT, who was on a plane bound for Boston,

spoke, text messaged, and emailed with the law enforcement officer who was handing the

investigation into the harassment of the Victims. GILBERT falsely claimed not to know ZEA or




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HARVILLE and falsely stated that he had to travel to Toronto and New York but would instead

attempt to come to Boston to meet with the NPD.

              d.     On August 21, 2019, after GILBERT spoke to the NPD, defendants and

their coconspirators made the following statements in a group discussion conducted over

WhatsApp:

                        •   GILBERT: The detective is looking to close this out but can’t until
                            he answers this ebay connection. I told the detective I don’t know
                            a Zea or Harville but they might be in other unites of global security.
                            I told them that it possible other units are conducting legitimate
                            investigations. I think the best explanation is that intel was
                            attempting initial investigation into POIs [Persons of Interest] and
                            panicked when they got burned. They accidentally ordered pizzas
                            for the surveillance and got sent to the target house. We need to
                            make sure none of the other deliveries can be tracked back to Ronnie
                            [ZEA] and Santa Clara… The detective said the debit card used for
                            the pizza was purchased at a Safeway in Santa Clara…”

                        •   POPP: “Intel unit definitely purchased a bunch of gift cards at
                            Safeway in San Jose.”

                        •   BAUGH: “I don’t think we deny the investigating, but we are not
                            send omg pizzas to there house that would be silly.”

                        •   GILBERT: “I’ll give brief the cops on the [Victims] background
                            and make them look like the problem. The cops just want a logical
                            legitimate reason for Ronnie [ZEA] and Harville being here…I told
                            the det I don’t know a Veronica Zea or David Harville. Can we
                            confirm our org chart not public so we don’t look like idiots when
                            we deny knowing them again? … We just need to explain away
                            Ronnie [ZEA] and Dave’s activities. Adamantly deny any
                            deliveries and put focus on the POIs.”

                        •   GILBERT: “I’m going to push the idea that ebay is a massive
                            company and have no interest in the [Victims.] The idea we would
                            send shit to their house is ridiculous.”

              e.     On August 21, 2019, after learning that the NPD was investigating a prepaid

debit card obtained in Santa Clara and used to send pizza to the Victims, BAUGH and POPP
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directed STOCKWELL to prepare a list of eBay “Persons of Interest” in the San Francisco Bay

Area that could be used (as part of GILBERT’s “dossier”) to deflect attention from ZEA.

               f.      On August 21, 2019, STOCKWELL created the document that BAUGH

requested for GILBERT’s “dossier”—“Bay Area POIs_August 2019.docx”—and emailed it to

POPP and BAUGH, who immediately emailed it on to GILBERT for use in the NPD meeting.

               g.      On August 22, 2019, GILBERT and another eBay employee met with three

members of the NPD. During the meeting, GILBERT falsely stated that:

                           •   ZEA and HARVILLE had come to Boston to attend a conference;

                           •   GILBERT was not aware of the harassment of the Victims but was
                               willing to assist in the investigation.

                           •   POPP was ZEA’s supervisor; and

                           •   POPP had assigned ZEA to a Person of Interest investigation
                               regarding the Victims, and that ZEA had driven to Natick “on her
                               own”.

               h.      On or after August 26, 2019, ZEA, HARVILLE, POPP, GILBERT, and

others deleted and attempted to delete data from their phones that evidenced the cyberstalking and

obstruction conspiracies, including the WhatsApp messages.

               i.      On or about September 6, 2019, POPP posted five new Tweets to one of the

Twitter accounts that the defendants and their coconspirators had used to harass the Victims, to

suggest that those responsible for harassing the Victims were still at large.




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                                         COUNT ONE
                              Conspiracy to Commit Cyberstalking
                                       (18 U.S.C. § 371)

      The U.S. Attorney charges:

       23.     The U.S. Attorney re-alleges and incorporates by reference paragraphs 1 through

22 of this Information.

       24.     From on or about August 5, 2019 and continuing through at least August 23, 2019,

in the District of Massachusetts and the Northern District of California, the defendants,

                                        BRIAN GILBERT,
                                       STEPHANIE POPP,
                                   STEPHANIE STOCKWELL, and
                                        VERONICA ZEA,

conspired with each other and with others known to the United States Attorney to commit an

offense against the United States, to wit, cyberstalking, that is, to, with intent to harass and

intimidate, use an interactive computer service and an electronic communications service and

electronic communication systems of interstate commerce, and any other facility of interstate and

foreign commerce, specifically Twitter messages, online delivery orders, and online postings, to

engage in a course of conduct that caused, attempted to cause, and would be reasonably expected

to cause substantial emotional distress to Victim 1 and Victim 2, in violation of 18 U.S.C. §

2261A(2)(B).

       All in violation of 18 U.S.C. § 371.




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                                        COUNT TWO
                              Conspiracy to Tamper with a Witness
                                       (18 U.S.C. § 371)

      The U.S. Attorney further charges:

       25.     The U.S. Attorney re-alleges and incorporates by reference paragraphs 1 through

22 of this Information.

       26.     From on or about August 16, 2019 and continuing through at least September 6,

2019, in the District of Massachusetts and the Northern District of California, the defendants,

                                       BRIAN GILBERT,
                                      STEPHANIE POPP,
                                  STEPHANIE STOCKWELL, and
                                       VERONICA ZEA,

conspired with each other and with others known to the U.S. Attorney to commit an offense against

the United States, to wit, obstruction of justice through tampering with a witness, that is, to

knowingly engage in misleading conduct toward another person, to wit, law enforcement officers

of the Natick Police Department, with intent to hinder, delay, and prevent the communication to a

law enforcement officer of the United States of information relating to the commission and

possible commission of a Federal offense, in violation of 18 U.S.C. § 1512(b)(3).

       All in violation of 18 U.S.C. § 371.




                                                15
      Case
      Case1:21-cv-11181-PBS
           1:20-cr-10098-WGY Document
                              Document1-3
                                       1 Filed
                                          Filed05/22/20
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                                                          Page16
                                                               17ofof16
                                                                      25




                                   Respectfully submitted,

                                   ANDREW E. LELLING
                                   United States Attorney

                             By:   ________ ________________
                                   DAVID J. D’ADDIO
                                   SETH B. KOSTO
                                   ASSISTANT UNITED STATES ATTORNEYS
                                   DISTRICT OF MASSACHUSETTS

Date: May 22, 2020




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OJS 45 (5/97) - (RevisedCase
                         U.S.D.C.1:21-cv-11181-PBS
                         Case     MA 3/25/2011)
                                  1:20-cr-10098-WGY Document
                                                     Document1-3
                                                              1-1 Filed
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Criminal Case Cover Sheet                                                      U.S. District Court - District of Massachusetts

Place of Offense:                      Category No.       II                   Investigating Agency       FBI

City      NATICK                                Related Case Information:

County       MIDDLESEX                          Superseding Ind./ Inf.                        Case No.
                                                Same Defendant                           New Defendant          X
                                                Magistrate Judge Case Number            19-MJ-2438 to 2441 (MBB)
                                                Search Warrant Case Number
                                                R 20/R 40 from District of

Defendant Information:

Defendant Name         BRIAN GILBERT                                       Juvenile:               G Yes G
                                                                                                         ✔ No

                       Is this person an attorney and/or a member of any state/federal bar:        G   Yes ✔
                                                                                                           G No
Alias Name
Address                (City & State) SAN JOSE, CA
                      1968 SSN (last4#):________
Birth date (Yr only): _____              1410        M
                                                 Sex _____                  W
                                                                     Race: ___________                       USA
                                                                                               Nationality: ____________________

Defense Counsel if known:              MIRANDA KANE, ESQ.                      Address 803 Hearst Avenue

Bar Number                                                                               BERKELEY, CA 94710

U.S. Attorney Information:

AUSA         SETH B. KOSTO/DAVID J. D'ADDIO                         Bar Number if applicable

Interpreter:            G Yes       ✔ No
                                    G                   List language and/or dialect:

Victims:               GYes G No If yes, are there multiple crime victims under 18 USC§3771(d)(2)
                       ✔                                                                                  G Yes      ✔ No
                                                                                                                     9

Matter to be SEALED:               G Yes
                                   ✔           G     No

          G Warrant Requested                      G Regular Process                      G In Custody

Location Status:

Arrest Date

G Already in Federal Custody as of                                              in                                      .
G Already in State Custody at                                      G Serving Sentence             G Awaiting Trial
G On Pretrial Release:       Ordered by:                                          on

Charging Document:                  G Complaint                ✔ Information
                                                               G                               G Indictment
                                                                                                            2
Total # of Counts:                  G Petty                    G Misdemeanor                   G Felony
                                                                                               ✔

                                        Continue on Page 2 for Entry of U.S.C. Citations

G
✔         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

Date:     05/22/2020                        Signature of AUSA:
                      Case
                       Case1:21-cv-11181-PBS
                            1:20-cr-10098-WGY Document
                                               Document1-3
                                                        1-1 Filed
                                                             Filed07/21/21
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                                                                                     of 25
                                                                                        2
JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse


District Court Case Number (To be filled in by deputy clerk):
Name of Defendant                BRIAN GILBERT

                                                                     U.S.C. Citations
                Index Key/Code                                      Description of Offense Charged       Count Numbers
                                                     CYBERSTALKING CONSPIRACY
Set 1     18 USC 371                                                                                 1

                                                     WITNESS TAMPERING CONSPIRACY
Set 2     18 USC 371                                                                                 2


Set 3


Set 4


Set 5


Set 6


Set 7


Set 8


Set 9


Set 10


Set 11


Set 12


Set 13


Set 14


Set 15

ADDITIONAL INFORMATION:




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OJS 45 (5/97) - (RevisedCase
                         U.S.D.C.1:21-cv-11181-PBS
                         Case     MA 3/25/2011)
                                  1:20-cr-10098-WGY Document
                                                     Document1-3
                                                              1-2 Filed
                                                                   Filed07/21/21
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                                                                                           of 25
                                                                                              2
Criminal Case Cover Sheet                                                       U.S. District Court - District of Massachusetts

Place of Offense:                      Category No.       II                   Investigating Agency       FBI

City      NATICK                                Related Case Information:

County       MIDDLESEX                          Superseding Ind./ Inf.                        Case No.
                                                Same Defendant                           New Defendant          x
                                                Magistrate Judge Case Number            19-MJ-2438 to 2441 (MBB)
                                                Search Warrant Case Number
                                                R 20/R 40 from District of

Defendant Information:

Defendant Name         STEPHANIE POPP                                      Juvenile:               G Yes G
                                                                                                         ✔ No

                       Is this person an attorney and/or a member of any state/federal bar:        G   Yes ✔
                                                                                                           G No
Alias Name
Address                (City & State) SAN JOSE, CA
                      1987 SSN (last4#):________
Birth date (Yr only): _____              6184        w
                                                 Sex _____                  W
                                                                     Race: ___________                       USA
                                                                                               Nationality: ____________________

Defense Counsel if known:              ADAM BOOKBINDER, ESQ.                   Address 10 ST. JAMES AVENUE, 11TH FLOOR

Bar Number                                                                               BOSTON, MA 02110

U.S. Attorney Information:

AUSA         SETH B. KOSTO/DAVID J. D'ADDIO                         Bar Number if applicable

Interpreter:            G Yes       ✔ No
                                    G                   List language and/or dialect:

Victims:               GYes G No If yes, are there multiple crime victims under 18 USC§3771(d)(2)
                       ✔                                                                                  G Yes      ✔ No
                                                                                                                     9

Matter to be SEALED:               G Yes
                                   ✔           G     No

          G Warrant Requested                      G Regular Process                      G In Custody

Location Status:

Arrest Date

G Already in Federal Custody as of                                               in                                     .
G Already in State Custody at                                      G Serving Sentence             G Awaiting Trial
G On Pretrial Release:       Ordered by:                                          on

Charging Document:                  G Complaint                ✔ Information
                                                               G                               G Indictment
                                                                                                            2
Total # of Counts:                  G Petty                    G Misdemeanor                   G Felony
                                                                                               ✔

                                        Continue on Page 2 for Entry of U.S.C. Citations

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          accurately set forth above.

Date:     05/22/2020                        Signature of AUSA:
                      Case
                       Case1:21-cv-11181-PBS
                            1:20-cr-10098-WGY Document
                                               Document1-3
                                                        1-2 Filed
                                                             Filed07/21/21
                                                                   05/22/20 Page
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                                                                                     of 25
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JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse


District Court Case Number (To be filled in by deputy clerk):
Name of Defendant                STEPHANIE POPP

                                                                     U.S.C. Citations
                Index Key/Code                                      Description of Offense Charged       Count Numbers
                                                     CYBERSTALKING CONSPIRACY
Set 1     18 USC 371                                                                                 1

                                                     WITNESS TAMPERING CONSPIRACY
Set 2     18 USC 371                                                                                 2


Set 3


Set 4


Set 5


Set 6


Set 7


Set 8


Set 9


Set 10


Set 11


Set 12


Set 13


Set 14


Set 15

ADDITIONAL INFORMATION:




USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
OJS 45 (5/97) - (RevisedCase
                         U.S.D.C.1:21-cv-11181-PBS
                         Case     MA 3/25/2011)
                                  1:20-cr-10098-WGY Document
                                                     Document1-3
                                                              1-3 Filed
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                                                                                           of 25
                                                                                              2
Criminal Case Cover Sheet                                                       U.S. District Court - District of Massachusetts

Place of Offense:                      Category No.       II                   Investigating Agency       FBI

City      NATICK                                Related Case Information:

County       MIDDLESEX                          Superseding Ind./ Inf.                        Case No.
                                                Same Defendant                           New Defendant          x
                                                Magistrate Judge Case Number            19-MJ-2438 to 2441 (MBB)
                                                Search Warrant Case Number
                                                R 20/R 40 from District of

Defendant Information:

Defendant Name         STEPHANIE STOCKWELL                                 Juvenile:               G Yes G
                                                                                                         ✔ No

                       Is this person an attorney and/or a member of any state/federal bar:        G   Yes ✔
                                                                                                           G No
Alias Name
Address                (City & State) REDWOOD CITY, CA
                      1993 SSN (last4#):________
Birth date (Yr only): _____              4067        w
                                                 Sex _____                  W
                                                                     Race: ___________                       USA
                                                                                               Nationality: ____________________

Defense Counsel if known:              GAIL SHIFMAN, ESQ.                      Address 2431 FILLMORE

Bar Number                                                                               SAN FRANCISCO, CA 94115

U.S. Attorney Information:

AUSA         SETH B. KOSTO/DAVID J. D'ADDIO                         Bar Number if applicable

Interpreter:            G Yes       ✔ No
                                    G                   List language and/or dialect:

Victims:               GYes G No If yes, are there multiple crime victims under 18 USC§3771(d)(2)
                       ✔                                                                                  G Yes      ✔ No
                                                                                                                     9

Matter to be SEALED:               G Yes
                                   ✔           G     No

          G Warrant Requested                      G Regular Process                      G In Custody

Location Status:

Arrest Date

G Already in Federal Custody as of                                               in                                     .
G Already in State Custody at                                      G Serving Sentence             G Awaiting Trial
G On Pretrial Release:       Ordered by:                                          on

Charging Document:                  G Complaint                ✔ Information
                                                               G                               G Indictment
                                                                                                            2
Total # of Counts:                  G Petty                    G Misdemeanor                   G Felony
                                                                                               ✔

                                        Continue on Page 2 for Entry of U.S.C. Citations

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✔         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

Date:     05/22/2020                        Signature of AUSA:
                      Case
                       Case1:21-cv-11181-PBS
                            1:20-cr-10098-WGY Document
                                               Document1-3
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JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse


District Court Case Number (To be filled in by deputy clerk):
Name of Defendant                STEPHANIE STOCKWELL

                                                                     U.S.C. Citations
                Index Key/Code                                      Description of Offense Charged       Count Numbers
                                                     CYBERSTALKING CONSPIRACY
Set 1     18 USC 371                                                                                 1

                                                     WITNESS TAMPERING CONSPIRACY
Set 2     18 USC 371                                                                                 2


Set 3


Set 4


Set 5


Set 6


Set 7


Set 8


Set 9


Set 10


Set 11


Set 12


Set 13


Set 14


Set 15

ADDITIONAL INFORMATION:




USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
OJS 45 (5/97) - (RevisedCase
                         U.S.D.C.1:21-cv-11181-PBS
                         Case     MA 3/25/2011)
                                  1:20-cr-10098-WGY Document
                                                     Document1-3
                                                              1-4 Filed
                                                                   Filed07/21/21
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                                                                                           of 25
                                                                                              2
Criminal Case Cover Sheet                                                       U.S. District Court - District of Massachusetts

Place of Offense:                      Category No.       II                   Investigating Agency       FBI

City      NATICK                                Related Case Information:

County       MIDDLESEX                          Superseding Ind./ Inf.                        Case No.
                                                Same Defendant                           New Defendant X
                                                Magistrate Judge Case Number            19-MJ-2438 to 2441 (MBB)
                                                Search Warrant Case Number
                                                R 20/R 40 from District of

Defendant Information:

Defendant Name         VERONICA ZEA                                        Juvenile:               G Yes G
                                                                                                         ✔ No

                       Is this person an attorney and/or a member of any state/federal bar:        G   Yes ✔
                                                                                                           G No
Alias Name
Address                (City & State) SAN JOSE, CA
                      1994 SSN (last4#):________
Birth date (Yr only): _____              5195        w
                                                 Sex _____                  W
                                                                     Race: ___________                       USA
                                                                                               Nationality: ____________________

Defense Counsel if known:              FRANK UBHAUS, ESQ                       Address 10 Almaden Boulevard, 11th Floor

Bar Number                                                                               San Jose, CA 95113

U.S. Attorney Information:

AUSA         SETH B. KOSTO/DAVID J. D'ADDIO                         Bar Number if applicable

Interpreter:            G Yes       ✔ No
                                    G                   List language and/or dialect:

Victims:               GYes G No If yes, are there multiple crime victims under 18 USC§3771(d)(2)
                       ✔                                                                                  G Yes      ✔ No
                                                                                                                     9

Matter to be SEALED:               G Yes
                                   ✔           G     No

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Location Status:

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G Already in State Custody at                                      G Serving Sentence             G Awaiting Trial
G On Pretrial Release:       Ordered by:                                           on

Charging Document:                  G Complaint                ✔ Information
                                                               G                               G Indictment
                                                                                                              2
Total # of Counts:                  G Petty                    G Misdemeanor                   G Felony
                                                                                               ✔

                                        Continue on Page 2 for Entry of U.S.C. Citations

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                            1:20-cr-10098-WGY Document
                                               Document1-3
                                                        1-4 Filed
                                                             Filed07/21/21
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JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse


District Court Case Number (To be filled in by deputy clerk):
Name of Defendant                VERONICA ZEA

                                                                     U.S.C. Citations
                Index Key/Code                                      Description of Offense Charged       Count Numbers
                                                     CYBERSTALKING CONSPIRACY
Set 1     18 USC 371                                                                                 1

                                                     WITNESS TAMPERING CONSPIRACY
Set 2     18 USC 371                                                                                 2


Set 3


Set 4


Set 5


Set 6


Set 7


Set 8


Set 9


Set 10


Set 11


Set 12


Set 13


Set 14


Set 15

ADDITIONAL INFORMATION:




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